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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:                                                                   Chapter 11

CELSIUS NETWORK LLC, et al.,1                                            Case No. 22-10964 (MG)

                                   Debtors.                              Jointly Administered
CELSIUS NETWORK LIMITED,

                                   Plaintiff,                            Adversary Proceeding
                          v.                                             No. 23-01138 (MG)

STAKEHOUND SA,
                                   Defendant.


         NOTICE OF STATUS CONFERENCE AND CANCELLATION OF HEARING




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  The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
federal tax identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending
LLC (8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius
Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and
GK8 USA LLC (9450). The Debtors’ service address in these Chapter 11 Cases is 50 Harrison Street, Suite 209F,
Hoboken, New Jersey 07030.
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          PLEASE TAKE NOTICE that Plaintiff Celsius Network Limited’s Motion for

Preliminary Injunction [ECF No. 47] and Defendant StakeHound S.A.’s Motion to Compel

Arbitration or, in the Alternative, for Abstention [ECF No. 46] (collectively, the “Motions”) were

scheduled to be heard before the Honorable Martin Glenn, Chief United States Bankruptcy Judge

(the “Court”) on December 6, 2023 at 9:00 a.m. (prevailing Eastern Time) (the “Hearing”), and

the Hearing has been cancelled.

          PLEASE TAKE FURTHER NOTICE that, in lieu of the Hearing, the Court will hold a

status conference on December 6, 2023 at 9:00 a.m. (prevailing Eastern Time) (the “Status

Conference”).

          PLEASE TAKE FURTHER NOTICE that the Status Conference will take place in a

hybrid fashion both in person and via Zoom for Government. Those wishing to participate in the

Status Conference in person may appear before the Honorable Martin Glenn, Chief United States

Bankruptcy Judge, in the United States Bankruptcy Court for the Southern District of New York,

in Courtroom No. 523, located at One Bowling Green, New York, New York 10004-1408. For

those wishing to participate remotely, in accordance with General Order M-543 dated March 20,

2020, the Status Conference will be conducted remotely using Zoom for Government. Parties

wishing to appear at the Status Conference, whether making a “live” or “listen only” appearance

before the Court, need to make an electronic appearance (an “eCourt Appearance”) through the

Court’s     website at   https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.     Electronic

appearances (eCourt Appearances) need to be made by 4:00 p.m. (prevailing Eastern Time), the

business day before the Status Conference (i.e., on Tuesday, December 5, 2023).

          PLEASE TAKE FURTHER NOTICE that due to the large number of expected

participants in the Status Conference and the Court’s security requirements for participating in a



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Zoom for Government audio and video hearing, all persons seeking to attend the Status Conference

remotely must connect to the Status Conference beginning at least one hour prior to the scheduled

start time of the Status Conference. When parties sign in to Zoom for Government and add their

names, they must type in the first and last name that will be used to identify them at the Status

Conference. Parties that type in only their first name, a nickname or initials will not be admitted

into the Status Conference. When seeking to connect for either audio or video participation in a

Zoom for Government Hearing, you will first enter a “Waiting Room,” in the order in which you

seek to connect. Court personnel will admit each person to the Status Conference from the Waiting

Room after confirming the person’s name (and telephone number, if a telephone is used to connect)

with their eCourt Appearance. Because of the large number of expected participants, you may

experience a delay in the Waiting Room before you are admitted to the Status Conference.

Additional information concerning how to participate in the Status Conference is available in the

Court’s Zoom Video Hearing Guide, available at https://www.nysb.uscourts.gov/zoom-video-

hearing-guide.

       PLEASE TAKE FURTHER NOTICE that a copy of the pleadings filed in these chapter

11 cases and adversary proceedings may be obtained free of charge by visiting the website of

Stretto at https://cases.stretto.com/Celsius. You may also obtain copies of the pleading filed in

these chapter 11 cases by visiting the Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.

                                    [Signature page follows.]




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Dated:        November 30, 2023
              New York, New York

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